Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 1of15

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
Vv. : CRIMINAL NO. 5:24-CR-01191-2
HOMERO ARTEAGA, JR. , ;
Defendant. §

PLEA AGREEMENT
The United States of America, by and through Alamdar S. Hamdani, United States
Attorney for the Southern District of Texas, and Andrew Hakala-Finch, Assistant United States
Attorney, and the defendant, HOMERO ARTEAGA, JR. (“Defendant”), and Defendant’s
counsel, pursuant to Rule 11(¢)(1)(A of the Federal Rules of Criminal Procedure, state that they
have entered into an agreement, the terms and conditions of which are as follows:
Defendant's Agreement
1. Defendant agrees to plead guilty to COUNT ONE of the indictment. Count | charges
Defendant with trafficking of firearms, in violation of Title 18. United States Code, Section
933(a)(3) & (b). Defendant, by entering this plea, agrees that he/she is waiving any right to have
the facts that the law makes essential to the punishment either charged in the
indictment/information, or proved to a jury or proven beyond a reasonable doubt.
Punishment Range
2. The statutory maximum penalty for each violation of Title 18, United States Code,
Section 933(a)(3) & (b), is imprisonment of not more than 15 years and a fine of not more than
$250,000. Additionally, Defendant may receive a term of supervised release after imprisonment
of not more than 3 years. See Title 18, United States Code, Sections 3559(a)(3) and 3583(b)(2).

Defendant acknowledges and understands that if he/she should violate the conditions of any period
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 2 of 15

of supervised release which may be imposed as part of his sentence. then Defendant may be
imprisoned for not more than 2 years, without credit for time already served on the term of
supervised release prior to such violation. See Title 18, United States Code, Sections 3559(a)(3)
and 3583(e)(3). Defendant understands that the sentences on multiple counts may be imposed to
run consecutively to one another or to any other sentence. Defendant understands that he/she
cannot have the imposition or execution of the sentence suspended, nor is he eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A): immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. ‘he payment will be by
cashier's check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s attorney
has advised Defendant of the potential immigration consequences resulting from Defendant’s plea
of guilty, and Defendant affirms that he wants to plead guilty regardless of any immigration

consequences that may result from the guilty plea and conviction.

ho
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 3 of 15

Cooperation

5. The parties understand this agreement carries the potential for a motion for departure
under Section 5K1.1 of the Sentencing Guidelines. Defendant understands and agrees that whether
such a motion is filed will be determined solely by the United States through the United States
Attorney for the Southern District of Texas. Should Defendant's cooperation, in the sole judgment
and discretion of the United States, amount to “substantial assistance.” the United States reserves
the sole right to file a motion for departure pursuant to Section 5K1.1 of the United States
Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully
cooperate with the United States, and not oppose the forfeiture of assets contemplated in
paragraph 21 of this agreement. Defendant understands and agrees that the United States will
request that sentencing be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant, including
but not limited to firearms. Defendant understands that such information includes both state and
federal offenses arising therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and Defendant; it does not bind any

other United States Attorney or any other unit of the Department of Justice:

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his/her Fifth Amendment

privilege against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request:

(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by the defendant to the

we
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 4 of 15

Grand Jury or at any court proceeding (criminal or civil), or to a government agent

or attorney, can and will be prosecuted under the appropriate perjury, false

statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his/her

possession or under his/her control relating to all areas of inquiry and investigation;

and

(f) Should the recommended departure, if any, not meet Defendant's

expectations, the Defendant understands that he/she remains bound by the terms of

this agreement and cannot, for that reason alone, withdraw his/her plea.

Waiver of Appeal, Collateral Review, and Statute of Limitations

7. Defendant is aware that Title 28, United States Code, Section 1291, and Title 18.
United States Code, Section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255, affords
the right to contest or “collaterally attack” a conviction or sentence after the judgment of conviction
and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, Section 2255. In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seck specific performance of these waivers.

8. Defendant also agrees that should the conviction following the defendant's plea of
guilty pursuant to this Agreement be vacated for any reason, then any prosecution that is not time-

barred by the applicable statute of limitations on the date of the signing of this agreement

(including any counts that the United States has agreed to dismiss at sentencing pursuant to this
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 5 of 15

Agreement) may be commenced or reinstated against the defendant, notwithstanding the
expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution that is not time-
barred on the date that this Agreement is signed.

9. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his/her counsel, the United
States or the Probation Office, is a prediction and not a promise, did not induce his/her guilty plea,
and is not binding on the United States, the Probation Office or the Court. The United States does
not make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

10. Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in this plea
agreement.

The United States’ Agreements

11. The United States agrees to each of the following:

(a) If Defendant pleads guilty to COUNT ONE of the indictment and persists
in that plea through sentencing, and if the Court accepts this plea agreement, the

5
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 6 of 15

United States will move to dismiss any remaining counts of the indictment at the
time of sentencing. The defendant agrees that with respect to any and all dismissed
charges he is not a ‘prevailing party within the meaning of the ‘Ilyde Amendment,’
Section 617, P.L. 105-119 (Nov. 26, 1997), and will not file any claim under that
law;

(b) If the Court determines that Defendant qualifies for an adjustment under
U.S.S.G. § 3E1.1(a), and the offense level prior to operation of § 3E1.1(a) is 16 or
greater, the United States will move under § 3E1.1(b) for an additional one-level
reduction because Defendant timely notified authorities of his or her intent to plead
guilty, thereby permitting the United States to avoid preparing for trial and
permitting the United States and the Court to allocate their resources more
efficiently.

Agreement Binding - Southern District of Texas Only

12. The United States Attorney's Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for the specific
conduct described in the indictment/information. This plea agreement binds only the United States
Attomey’s Office for the Southern District of Texas and Defendant. It does not bind any other
United States Attorney’s Office. The United States Attorney’s Office for the Southern District of
Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention
of other prosecuting offices, if requested.

United States’ Non-Waiver of Appeal

13. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring the facts of this case, including evidence in the files of the United

States Attorney's Office for the Southern District of Texas or the files of any

investigative agency, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report:

(b) to set forth or dispute sentencing factors or facts material to sentencing;
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 7 of 15

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code.

Section 3553(a): and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination

14. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencing judge. If the Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.

Rights at Trial

15. Defendant understands that by entering into this agreement, he/she surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may
7
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 8 of 15

be conducted by a judge sitting without a jury if Defendant. the United States, and
the court all agree.

(b) Ata trial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. In turn.

Defendant could, but would not be required to. present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) Ata trial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his/her own
behalf.
Factual Basis for Guilty Plea

16. Defendant is pleading guilty because he/she is in fact guilty of the charges contained
in Count(s) 1 of the indictment/information. If this case were to proceed to trial, the United States
could prove each element of the offense beyond a reasonable doubt. ‘he following facts, among
others would be offered to establish Defendant’s guilt:

On August 15, 2024, TARGET 1, a member of the Jalisco New Generation Cartel,
contacted a Bureau of Alcohol, Tobacco, Firearms and Explosions (ATF) source of information
(SOL), looking to purchase firearms. ATF agents had the SOI pass along the contact information
for a confidential informant (Cl) of ATF. The ATF Cl contacted TARGET 1 and they began to
negotiate for the sale a Barret, Model 82A1, .50 caliber rifle, Serial Number AA008311 and a FN
Herstal, Model Five-Seven, 5.7x28mm caliber pistol, Serial Number 386122325.

TARGET 1 and the ATF CI eventually settled on a date, September 18, 2024, and a

location, Zapata, Texas for the deal. The Barret rifle was priced at $15,000 United States Dollars

(USD) and the FN Herstal pistol at $850 USD. TARGET | told the ATF Cl that he would be
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 9 of 15

sending his brother-in-law to the deal. On September 18, 2024, co-Defendant Morales-Calvo and
Defendant arrived at the prescribed meeting place, the parking lot of the Sunbridge Inn in Zapata,
Texas. Co-Defendant Morales-Calvo was driving a black pick-up truck. Defendant exited the truck
and met with the ATF CI and an undercover ATF special agent (SA).

Defendant inspected the firearms and went to the truck he arrived in and retrieved a bag
containing the money. Defendant placed the money on the edge of the truck bed and grabbed the
firearms-at that point, the ATF undercover SA signaled the arrest team. Defendant was
immediately arrested. Co-Defendant Morales-Calvo drove off and attempted to flee but was
stopped by law enforcement before leaving the parking lot.

After Miranda rights and waiver, co-Defendant Morales-Calvo told agents that Defendant
was instructed by a Jalisco New Generation cartel member, TARGET 2, that operates in the Rio
Grande Valley to go to Zapata, Texas to purchase firearms. TARGET 2 gave co-Defendant
Morales-Calvo a bag of counterfeit money to complete the purchase. A review of co-Defendant
Morales-Calvo’s phone revealed text messages from TARGET 2, giving instructions on
September 18, 2024, regarding the firearms deal.

After Miranda rights and waiver, Defendant told agents that he is the brother-in-law to
TARGET | and that he has been a Valluco gang member for twenty years. Defendant told agents
that his role in the firearms deal was to exchange the money and that he knew co-Defendant
Morales-Calvo. pein also told agents that the guns were destined to go to TARGET 1 in
Mexico and that TARGET 1 was a convicted felon.

Co-Defendant Morales-Calvo and Defendant are both convicted felons. Co-Defendant

Morales-Calvo has conviction for Burglary in the State of Texas from 2017 and Defendant has a
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 10 of 15

conviction from the Southern District of Texas in 2017 for conspiracy to possess with the intent to
distribute cocaine.
Breach of Plea Agreement

17. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant's plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, including required financial
information, or if Defendant knowingly withholds evidence or is otherwise not completely truthful
with the United States, then the United States may move the Court to set aside the guilty plea and
reinstate prosecution. Any information and documents that have been disclosed by Defendant,
whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will be used
against defendant in any prosecution.

Monetary Penalties, Assets and Financial Disclosures

18. Defendant understands and agrees that monetary penalties will be subject to
immediate enforcement as provided in 18 U.S.C. § 3613 and that monetary penalties will be
submitted to the Treasury Offset Program so that payments to the Defendant may be applied to
federal debts.

19. Defendant understands that restitution, forfeiture, and fines are separate components
of sentencing and are separate obligations. Defendant agrees to take all steps necessary to pass
clear title to forfeitable assets to the United States and to assist fully in the collection of restitution

and fines. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 11 of 15

in any manner, including by direct appeal or in a collateral proceeding, any restitution order, any
forfeiture orders, and any fines.
Restitution

20. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant stipulates and agrees that as a result of his criminal conduct, the victim(s)
incurred a monetary loss of at least $ . Defendant agrees to pay full restitution as
determined by the Court, regardless of the resulting loss amount, to all victims harmed by
Defendant's “relevant conduct,” as defined by U.S.S.G. §1B1.3, including conduct pertaining to
any dismissed counts or uncharged conduct, and regardless of whether such conduct constitutes
an “offense” under 18 U.S.C. §§ 2259, 3663 or 3663A. Defendant agrees that restitution imposed
by the Court will be due and payable immediately and that should the Court impose a payment
schedule, the payment schedule sets forth minimum payments and does not foreclose additional
collection of restitution.

Forfeiture

21. As part of this plea agreement, Defendant agrees to the following:

(a) to forfeit, via either an administrative or judicial proceeding, all assets listed in the

charging document (including any Supplemental Notice of Forfeiture), and to forfeit or

abandon any assets seized during this investigation or a related investigation [including but

not limited to the following specific assets:];

(b) to withdraw any claims and petitions for such listed or seized assets, whether i. this

proceeding or another proceeding, and to waive notice of administrative proceedings

(including forfeiture, destruction, and abandonment for seized property):

(c) that Defendant obtained at least $ __ __ from the criminal offenses, that the factual

basis for the guilty plea supports the imposition of a money judgment in that amount, and

that the Defendant agrees to the imposition of a money judgment in that amount Jor, if not
agreed, that the Court will determine the proper amount of a money judgment};

lI
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 12 of 15

(d) that one or more of the conditions set forth in 21 U.S.C. § 853(p) exists, so that the
forfeiture money judgment may be immediately satisfied via forfeiture of substitute
property; and

(e) to the order of forfeiture becoming final as to Defendant immediately following this
guilty plea or immediately following entry of the forfeiture order, whichever applies.

Financial Statement

22. Defendant agrees to truthfully complete under penalty of perjury, within thirty days
of the execution of this Plea Agreement, a financial statement on a form provided by the United
States Attorney’s Office and to update the statement within seven days of any material change.
Defendant also agrees to make full disclosure to the United States Probation Office of all current
and anticipated assets in which Defendant has an interest both before sentencing and again before
termination of supervised release or probation. with such disclosures to be shared with the United
States Attorney’s Office.

23. Defendant further agrees not to dispose or transfer any assets without the prior written
permission of the United States and to authorize the release of all financial information requested
by the United States, including, but not limited to, credit histories and tax returns. Defendant agrees
to discuss and answer any questions by the United States relating to Defendant’s financial
disclosure, including in a deposition or informal debtor exam, whether before or after sentencing.

Complete Agreement

24. This written plea agreement, consisting of 15 pages, including the attached addendum
of Defendant and his/her attorney, constitutes the complete plea agreement between the United
States, Defendant, and Defendant’s counsel. Other than any written proffer agreement(s) that may
have been entered into between the United States and Defendant, this agreement supersedes any
prior understandings, promises, agreements, or conditions between the United States and

12
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 13 of 15

Defendant. No additional understandings, promises, agreements, or conditions have been entered
into other than those set forth in this agreement, and none will be entered into unless in writing
and signed by all parties. Defendant acknowledges that no threats have been made against him/her
and that he is pleading guilty freely and voluntarily because he is guilty.

25. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at_ . Texas, on ‘ . 2024.

endant :

APPROVED:

Alamdar S. Hamdani
United States Attorney

‘Andrew Hakala-Finch a Roberto Balli
Assistant United States Attorney Attorney for Defendant
Southern District of Texas

13
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 14 of 15

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
v. : CRIMINAL NO, 5:24-CR-01191-2
HOMERO ARTEAGA, JR., ;
Defendant. §

PLEA AGREEMENT -- ADDENDUM

[ have fully explained to Defendant his/her rights with respect to the pending indictment. |
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and | have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. | have also explained to Defendant that sentences on
multiple counts may be imposed to run consecutively to one another or to any other sentence.
Further, I have carefully reviewed every part of this plea agreement with Defendant. To my
knowledge, Defendant's decision to enter into this agreement is an informed and voluntary one.

\ L . Ul EL ee
Roberto Balli \ Date
Attorney for Defendant

I have consulted with my attorney and fully understand all my rights with respect to the
indictment/information pending against me. My attorney has fully explained, and | understand, all

my rights with respect to the provisions of the United States Sentencing Commission’s Guidelines

14
Case 5:24-cr-01191 Document 34 Filed on 11/19/24 in TXSD Page 15 of 15

Manual which may apply in my case. | have read and carefully reviewed every part of this plea

agreement with my attorney. I understand this agreement and I voluntarily agree to its terms.

étendant
